IN RE:                                           CASE NO.    21-51553

ANGELA MARIE QUINN                               CHAPTER 7

           Debtor                                REPORT OF UNCLAIMED
                                                 DIVIDEND



     Harold A. Corzin, Trustee herein, reports that check #101 was
issued on March 16, 2022 to the claimant set forth below as and for
a first and final dividend in this estate, in the amount set forth
below, but that said check has not been negotiated. The Trustee
thus issues check #102 to the Clerk of Courts in the amount of
$3,296.81 as and for an unclaimed dividend herein for the Claimant
as set forth below.


Angela Marie Quinn
3425 W. Prescott Circle
Cuyahoga Falls, Ohio 44223



                                            /s/ Harold A. Corzin
                                           HAROLD A. CORZIN, TRUSTEE
                                           304 N. Cleveland-Massillon Road
                                           Akron, Ohio 44333
                                           (330) 670-0770
                                           (330) 670-0297 Facsimile
                                           Hcorzin@corzinlaw.com



June 15, 2022

cc:   U. S. Trustee




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